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                           UNITED STATES DISTRICT COURT

                          EASTERN DISTRICT OF LOUISIANA

REC MARINE LOGISTICS, LLC        §            C.A. NO. 2:19-cv-11149-LMA-DMD
                                 §
V.                               §
                                 §
DEQUINCY R. RICHARD              §            SEC. “I”               MAG. (3)
                                 §
V.                               §
                                 §
REC MARINE LOGISTICS, LLC,       §
GULF OFFSHORE LOGISTICS LLC and  §
OFFSHORE TRANSPORT SERVICES, LLC §


                            PROPOSED PRETRIAL ORDER

1.    Date of Pre-Trial Conference

      February 11, 2020, at 10:30 a.m.


2.    Appearance of Counsel and Parties represented

      For Plaintiff / Counter Defendant REC Marine Logistics, LLC,
      and Third-Party Defendants Gulf Offshore Logistics LLC and
      Offshore Transport Services, LLC

      Fred E. Salley, T.A. (11665)
      Salley & Associates
      P.O. Box 3549
      77378 Hwy 1081 Cretien Annex
      Covington, Louisiana 70434
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      Email:         fsalley@charter.net
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       For Defendant / Counter Plaintiff / Third Party Plaintiff DeQuincy Richard:

       Eric J. Rhine (pro hac vice, Texas Bar No. 24060485)
       Spagnoletti Law Firm
       401 Louisiana Street, 8th Floor
       Houston, Texas 77002
       Telephone      713.653.5600
       Facsimile      713.653.5656
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       R. Joshua Koch, Jr. (Bar Roll NO. 7767)
       Koch & Schmidt, LLC
       650 Poydras Street, Suite 2660
       New Orleans, Louisiana 70130
       Telephone     504.208.9040
       Facsimile     504.208.9041
       Email         jkoch@kochschmidt.com


3.     Description of the Parties

       A.      REC Marine Logistics, LLC, Gulf Offshore Logistics LLC,
               and Offshore Transport Services, LLC

       Gulf Offshore Logistics, LLC is a vessel owner; Offshore Transport Services, LLC is a

vessel owner of a different vessel, and REC Marine Logistics, LLC is a contract vessel operator

by time/hour. REC was also the initiator of this litigation in this district by filing a Declaratory

Judgment as employer of Richard.

       Gulf Offshore Logistics, LLC was named in this suit, but has nothing to do with the

plaintiff, or any vessel involved in this suit. Likewise, Offshore Transport Services, LLC, was

the naked owner of the vessel in this litigation, but this company does not navigate, manage, or

handle operations of its vessel which was contracted to and bare boat chartered to another

company, which for specific time, was W&T Offshore, which managed, navigated, and operated

the vessel, but has not been named as a party.


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       Richard has no valid claims for vessel liability (seaworthiness) as plaintiff failed to file

and/or perfect any in rem claim against the vessel, or a party responsible for the vessel's

seaworthiness, and there has been no in rem seizure of the vessel. One or the other of these

perfected claims is essential for this remedy to be available.

       B.      DeQuincy Richard

       DeQuincy Richard (“Richard”), Defendant in this Declaratory Judgment action brought

by REC Marine Logistics, LLC, and Counter-Plaintiff as to his claims against REC Marine

Logistics, LLC, and Third-Party Plaintiff as to his claims against Gulf Offshore Logistics LLC

(“GOL”) and Offshore Transport Services, LLC. (“OTS”). Richard is a resident of Lafourche

Parish. At the time of his incident, he was working for REC Marine, and brings his claims herein

against REC Marine, as well as the owners and operators of the Dustin Danos (the “Vessel”) for

injuries he sustained while working on the vessel.



4.     Jurisdiction

       This Honorable Court has admiralty jurisdiction pursuant to 28 U.S.C.A. § 1333.



5.     Pending Motions

       Richard’s Motion for Attorney’s Fees (Rec. Doc. 50) and Richard’s Motion for Sanctions

(Rec. Doc. 58). For discussion at the pre-trial conference, in advance of Richard filing a motion

related to same, Richard will raise REC Marine’s continued refusal to provide full discovery

responses in violation of the Court’s Order & Reasons (Rec. Doc. 61).




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        REC Marine states “Defendants will timely appeal the Court's sanctions and its

underlying reasoning, as it is contrary to the law and the facts of this litigation.”



6.      Brief Summary of Material Facts claimed by:

        A.        REC Marine / GOL / OTS:

        REC Marine Logistics, LLC. initiated this suit as a Declaratory Judgment in the Eastern

district, but Richard joined the suit and converted it to a suit for damages under the Jones Act

among claims. All parties thereafter re-aligned into their current position.

        Now: Gulf Offshore Logistics, LLC, asserts that it was erroneously sued by Plaintiff's

counsel in this venue and in Southern District of Texas, and has absolutely no legitimate function

or exposure in this litigation and should be immediately dismissed with court costs. Offshore

Transport Services, LLC was the naked owner of the vessel Dustin Danos, but since the vessel

was fully chartered to W&T Offshore for all relevant times in question, and W&T Offshore was

wholly responsible for operation, management, crewing and navigation of the vessel, this

defendant was not legally responsible for these obligations, and should not be a party in this

litigation. Richard was not owed a warranty of seaworthiness by this party.

        REC Marine Logistics, LLC was a contract operator of the Dustin Danos for time and

hours. It was not responsible for the voyages or for seaworthiness, but it did hire persons to work

as crew. Richard was a newly hired crewman who contended he was trained, competent, and

physically fit.

        Richard was brought aboard and was placed on watch for less than 6-8 hrs. While

attempting to connect a mooring line from the vessel to the adjacent platform, he demonstrated


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he had no training or ability to do basic seaman work although when seeking the work he

claimed he had prior deckhand experience. The second captain tried to show him how to connect

the line, but after Richard utterly failed to do so, the second captain made the connection with

him watching for training. They started down the jump deck serving the stern work deck, and

while doing so, Richard was observed by the captain and second captain, to fake a fall onto the

stern deck from which he jumped up and alleged he had disjointed his right shoulder. Any injury

to Richard or to his right shoulder and/or other body parts pre-existed this employment;, Richard

was searching for a location at which he could fake or stage an injury, and this is where it

occurred.

       Richard also claimed previous marine injuries of the same type and nature as those

"injuries" claimed here, which he hid from REC while seeking initial employment. He is

prevented from attempting to make claim for similar accidents and injuries under the expanded

rule of McCorpen. McCorpen, as expanded by recent cases, prevents plaintiff from making any

identical and/or similar claims of injury or re-injury which were not fully disclosed to a

prospective new employer such as REC.



       B.      Richard

       On November 6, 2018, and at all material times hereto, Richard was employed by REC

Marine as deckhand. OTS owned the Dustin Danos, the vessel on which Plaintiff was working

at the time of injury made the basis of suit. REC Marine and GOL owned and/or crewed the

Vessel. On the day of the incident, Richard was helping the captain tie-down the vessel at a

platform in the Gulf of Mexico. As he descended a set of defective metal stairs on the back of


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the vessel, the grating that comprised one of the steps shifted. As a result, Richard was thrown to

the deck of the vessel, losing consciousness on impact, and sustaining injuries to his head, neck,

back and right shoulder. Nothing Plaintiff did or did not do contributed to his injuries.

       Maritime workers should be able to be safe as they go about their duties on a vessel, and

this requires nonslippery decks and stairs. Decks and stairs therefore should be made of non-slip

flooring or covered with nonskid materials. These must be inspected and maintained to remain

effective. Maintenance includes reapplication or replacement when the coefficient of friction is

inadequate, and it also requires prompt cleanup of spills and debris. Maritime standards also

require steps to be safely secured so they do not shift in the manner described by Richard.

Maritime employees should be able to expect to be safe while working on vessels and walking on

relatively high-traffic, properly maintained stairways that comport with widely accepted safety

standards. REC Marine, GOL and OTS should have allocated the resources, including sufficient

training and manpower, to eliminate this unnecessary hazard by ensuring that stairways and

walkways were inspected and maintained in compliance with recognized safety principles.

       There is no valid evidence before the Court of prior injuries sustained by Richard. Were

that to be the case, any McCorpen-related defense would solely relate to REC Marine’s

obligation to pay maintenance and cure benefits to Richard. Richard passed the pre-employment

physical required by REC Marine, and the testimony of REC Marine’s corporate representative

confirms Richard was fit and physically capable of performing his duties on the date of the

incident.

       Following the injury, Richard has suffered substantial pain in his back, neck, right

shoulder, and head. He has undergone significant medical treatment following. An MRI of the


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shoulder confirms a torn labrum and partially torn rotator cuff. Richard requires surgery to repair

the tears. Richard has treated his neck injuries conservatively. Neurologic findings on an EMG

correspond with the clinical complaints. Dr. Shamsnia has diagnosed post concussion syndrome,

post-concussion headache, neck pain, cervical radiculopathy, and memory difficulties. The

results of both an MRI of the Brain and of Diffusion Tensor Imaging of the Brain correlate with

Richard’s symptoms. His future medical treatment due to his brain injuries will be substantial in

cost and duration. Based on the current recommendations for treatment, Richard’s future

medical care will range between: $1,761,289.55 to $2,032,731.87

       Richard’s past and future lost wages are calculated at $1,224,128.00.

7.     Uncontested Material Facts

       (a)     Dequincy Richard was born in July 1987 and resides in Thibodaux, LA. He
               dropped out of high school in the 11th grade and holds a GED.

       (b)     On or about the date of incident, REC Marine was the Jones Act employer of
               Richard.

       (c)     On or about the date of incident, REC Marine received notice that Richard
               claimed to have sustained injuries while working on the Dustin Danos.

       (d)     The incident made the basis of this suit was reported.


8.     Contested Issues of Fact

       REC Marine / GOL / OTS requested facts (a) through (w) listed below be moved from

“Uncontested Issues of Fact” to “Contested Issues of Fact”. Richard disagrees, as facts (a)

through (w) have been deemed admitted by the failure of each REC Marine, GOL and OTS to




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timely admit or deny Richard’s First Request for Admission propounded to each, via hand

delivery, on October 4, 20191.

       (a)     On November 6, 2018, Richard was an employee of REC Marine, working in
               service of the Dustin Danos.

       (b)     On November 6, 2018, the Dustin Danos was owned by OTS.

       (c)     On November 6, 2018, the Dustin Danos was operated by REC Marine and GOL.

       (d)     On or about the date of incident, Richard sustained injuries while in the course
               and scope of his employment aboard the Dustin Danos.

       (e)     Prior to Richard’s reported injury, his conduct and ability rating aboard the Dustin
               Danos was satisfactory.

       (f)     REC Marine was negligent in causing the injuries sustained by Richard on the
               date in question.

       (g)     OTS was negligent in causing the injuries sustained by Richard on the date in
               question.

       (h)     GOL was negligent in causing the injuries sustained by Richard on the date in
               question.

       (i)     Richard was not contributorily negligent at the time of his accident on the Dustin
               Danos.

       (j)     Richard did not suffer from any relevant pre-existing condition(s) prior to the
               occurrence in question.

       (k)     On the date in question Richard was under instructions to perform the work he
               was performing.

       (l)     The Dustin Danos was unseaworthy at the time of incident herein.




       1
           REC Marine / GOL / OTS had another opportunity to respond to the admissions on January 31,
2020, the date the Court ordered them to “comply with all outstanding discovery requests” (Rec. Doc.
61), yet they failed to do so. As a result, such requests have been deemed admitted.


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 (m)   The actions of REC Marine proximately caused the injuries sustained by Richard
       on the date in question based on the occurrence made the basis of this lawsuit.

 (n)   The actions of GOL proximately caused the injuries sustained by Richard on the
       date in question based on the occurrence made the basis of this lawsuit.

 (o)   The actions of OTS proximately caused the injuries sustained by Richard on the
       date in question based on the occurrence made the basis of this lawsuit.

 (p)   REC Marine has denied adequate medical cure to Richard for the injuries
       sustained in the incident.

 (q)   REC Marine has denied the payment of maintenance to Richard for the injuries
       sustained in the incident.

 (r)   Richard was able-bodied and in good health when the accident that is the basis of
       this suit occurred.

 (s)   REC Marine has no knowledge of any preexisting injury or condition that may
       have contributed to Richard’s injuries.

 (t)   Richard did not violate any written or oral instruction, rule, regulation, code,
       standard, understanding, practice, custom, or law related to the accident.

 (u)   REC Marine did not conduct an investigation on board the Dustin Danos after
       Richard’s accident.

 (v)   GOL did not conduct an investigation on board the Dustin Danos after Richard’s
       accident.

 (w)   OTS did not conduct an investigation on board the Dustin Danos after Richard’s
       accident.

 (x)   Following the incident, Richard received initial medical treatment on the deck of
       the vessel.

 (y)   Following the incident, Richard was taken to shore and received treatment at
       Occupational Medicine Service. At OMS, Richard presented with complaints of
       right shoulder pain, neck pain, dizziness, joint pain, and muscle weakness. The
       body map that completed by Richard notes injuries to his head, neck, right
       shoulder and lower back.




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 (z)    On December 3, 2018, Richard was seen by Dr. Uzoma Moore at LA Health
        Solutions. He presented with complaints of pain in his head, neck, and right
        shoulder. Symptoms associated with the head injury included: sleep disruption,
        headaches, nausea, vomiting, poor concentration, light sensitivity, forgetfulness,
        burred vision, and dizziness. Dr. Moore causally related the injuries and
        treatment to the accident on November 6, 2018.

 (aa)   Richard has been diagnosed by Dr. Shamsnia with post concussion syndrome,
        post-concussion headache, neck pain, cervical radiculopathy, right shoulder pain,
        memory difficulties, and rib pain on right side.

 (bb)   Dr. Douglas Bostick has causally related Richard’s shoulder complaints to the fall
        off of the stairs accident.

 (cc)   Richard underwent an EMG on July 2, 2019. The results were consistent with the
        complaints made by Richard regarding his cervical spine.

 (dd)   Richard received an MRI of the brain and Diffusion Tensor Imaging with fiber
        tracking on October 23, 2019. The radiologist found there was a clinical
        correlation between these results and the symptoms that have been experienced by
        Richard.

 (ee)   An MRI of the lumbar spine on October 23, 2019 showed disc herniations at
        L3-4, L4-5, and L5-S1.

 (ff)   An MRI of Richard’s right shoulder was taken on November 1, 2019, confirming
        tears of the labrum and rotator cuff.

 (gg)   Dr. Bostick feels that Richard requires surgical intervention on his right shoulder.

 (hh)   Dr. Marco Rodriguez has found that Richard’s diagnoses relate to the accident
        that occurred on November 6, 2018.

 (ii)   All of Richard’s medical treatment and diagnostic testing were necessary for the
        proper care of any injuries sustained in the incident made the basis of this lawsuit.

 (jj)   The amount charged for all of Richard’s medical treatment was reasonable at the
        time and place that the services were provided.

 (kk)   Richard has been totally incapacitated from performing the usual and ordinary
        tasks of his job as a deckhand.

 (ll)   Richard’s incapacity is permanent.


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       (mm) Richard has lost wages as a result of his inability to return to work due to the
            injuries he sustained on the Dustin Danos.

       (nn)    Richard has suffered physical pain and mental anguish in the past as a result of his
               injuries he sustained on the Dustin Danos.

       (oo)    In all probability, Richard will suffer physical pain and mental anguish in the
               future as a result of his injuries he sustained on the Dustin Danos.

       (pp)    Richard has suffered physical impairment in the past as a result of the injuries he
               sustained on the Dustin Danos.

       (qq)    In all probability, Richard will suffer physical impairment in the future as a result
               of the injuries he sustained on the Dustin Danos.

       (rr)    Richard has suffered loss of enjoyment of life in the past as a result of the injuries
               he sustained on the Dustin Danos.

       (ss)    In all probability, Richard will suffer loss of enjoyment of life in the future as a
               result of the injuries he sustained on the Dustin Danos.

       (tt)    Dr. Randolph Rice calculates Richard’s loss of income at a present-day value of
               $1,224,128.00.

       (uu)    Richard’s future medical costs range between: $1,761,289.55 to $2,032,731.87.


       Defendants deny Plaintiff's assertion that Defendants did not respond to, and deny,

Plaintiff's Admissions since all were answered, and served on Plaintiff in timely fashion.

Moreover, there was no hand delivery of any pleadings in this case by Plaintiff to any Defendant.

The requests from Plaintiff were delivered by email to defendants, and were answered, timely, by

email delivery. Plaintiff's assertion in this case is simply wrong, and in bad faith.

       Moreover, Defendants claim that the asserted issues intentionally inserted by Plaintiff, are

wholesale untruths, fabrications, and fictions, all disputed by Defendants; and Defendants will

move that they be completely removed from the order which will make the trial more



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manageable. Plaintiff has attempted to control the pre-trial order and its contents by denying

access to Defendants, and simply continues to move inaccurate material to another location or

section.2


9.      Contested Issues of Law:

        Richard states there are no contested issues of law since facts (a) through (w) in Section 8

above have been deemed admitted by the failure of each REC Marine, GOL and OTS to timely

admit or deny Richard’s First Request for Admission propounded to each; however, out of an

abundance of caution, the contested issues are listed below:

        (a)     Whether REC Marine was negligent.

        (b)     Whether OTS was negligent.

        (c)     Whether GOL was negligent.

        (d)     Whether the negligence of REC Marine, OTS and/or GOL was the cause-in-fact
                of Richard’s injuries.

        (e)     To the extent applicable, whether an unseaworthy condition existed on the Dustin
                Danos.

        (f)     To the extent applicable, whether any unseaworthy condition constituted a
                substantial factor in causing Richard’s accident and injuries.

        (g)     Whether the owner of the vessel is responsible for the unseaworthy condition on
                the vessel.

        (h)     Any issue of law inherent to the facts presented herein.



        2
           Richard states "Defendants'"comments are both improper within this section of the Pretrial
Order, and also categorically false. The comments represent wholesale untruths without any basis in
fact. Richard will address all of the inaccuracies contained within them, should the Court request, during
the pretrial conference.


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        Defendants demand that Plaintiff's continued claim for a warranty of seaworthiness must

be removed from the issues of law (see proposed issues inserted by Plaintiff: e), and f).

Defendant has already explicitly stated in prior sections of this document that Plaintiff failed to

correctly set up any claim for a warranty of seaworthiness, as Plaintiff did not seize the vessel in

rem; and/or did not file suit against the contract bare boat charterer of the vessel from its bare

owner, Offshore Transport Services, LLC. 3



10.     Exhibit Lists

        A.      REC Marine, OTS, GOL (without objection)

        c)      Accident report created on vessel for Richard event.
        d)      Log of vessel for 5-6 November 2018

                REC Marine, OTS, GOL (with objection)

        a)      Medical records and reports utilized by Dr. Bret Casey including his records or
                materials

                Objection: Hearsay, Relevance, Exhibit never produced in discovery, Exhibit not
                included on any Exhibit List filed with the Court

        b)      Richard Employee file of REC containing the pre-employment records
                accumulated on Richard; and separately, employee file maintained by REC
                post-hire of Richard.

        e)      Medical records maintained and produced by Brittany Bourgeois, P.T.




        3
          Richard states "Defendants'"comments are both improper within this section of the Pretrial
Order, and also categorically false. The comments represent wholesale untruths without any basis in
fact. Richard will address all of the inaccuracies contained within them, should the Court request, during
the pretrial conference.


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 f)        Defendants may utilize any documents, exhibits, and records listed and/or offered
           by any other party

           Objection: Exhibits never produced in discovery, Exhibits not included on any
           Exhibit List filed with the Court

 B.        Richard (without objection):

      EX                         DESCRIPTION
       1      GOL Personal Incident/Illness Report
       6      Richard’s personnel file from REC Marine
       7      Richard’s wage and benefits records from REC Marine
       8      Richard’s Pay Stubs from REC Marine

           Richard (with objection):

      EX             DESCRIPTION                     OBJECTION         RESPONSE
      2     Photographs of Vessel / Inspection     have not been     these are due,
            taken by Robert Borison                seen so I         along with
                                                   object to them    Borison’s report,
                                                                     on February 12,
                                                                     2020.
      3     Videos of Vessel Inspection            have not been     these are due,
            performed by Robert Borison            seen so I         along with
                                                   object to them    Borison’s report,
                                                                     on February 12,
                                                                     2020.
      4     Documents relied upon by Robert        have not been     these are due,
            Borison                                seen so I         along with
                                                   object to them    Borison's report,
                                                                     on February 12,
                                                                     2020.
      5     Gulf Offshore Logistics Daily Boat     Objection         Improper,
            Logs for the Dustin Danos                                incomplete
                                                                     objection




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    9   Richard’s Certification and Safety   currently         see Richard’s
        documents                            objected to,      disclosures of
                                             not having        02/07/20
                                             been seen
   10   Richard’s Photographs                currently         see Richard’s
        (Richard_000113-116)                 objected to,      disclosures of
                                             not having        02/07/20
                                             been seen
   11   Sam McCain Deposition Exhibit        currently         see the deposition
        Nos. 1-11                            objected to,      exhibits
                                             not having
                                             been seen
   12   REC Marine (Blaine Russell)          currently         see the deposition
        Deposition Exhibit Nos. 1-11         objected to,      exhibits
                                             not having
                                             been seen
   13   CV Randolph Rice, Ph.D.              have not been     see Richard’s
                                             seen nor have     Expert
                                             they been         Disclosures of
                                             connected to      11/13/19
                                             Richard's
                                             claim. I
                                             provisionally
                                             object to them,
                                             and suggest
                                             they be listed
                                             as other than
                                             fait accompli
   14   CV Aaron M. Wolfson, Ph.D.           have not been     see Richard’s
                                             seen nor have     Expert
                                             they been         Disclosures of
                                             connected to      11/13/19
                                             Richard's
                                             claim. I
                                             provisionally
                                             object to them,
                                             and suggest
                                             they be listed
                                             as other than
                                             fait accompli

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   15   CV Robert E. Borison               have not been     see Richard’s
                                           seen nor have     Expert
                                           they been         Disclosures of
                                           connected to      11/13/19
                                           Richard's
                                           claim. I
                                           provisionally
                                           object to them,
                                           and suggest
                                           they be listed
                                           as other than
                                           fait accompli
   16   CV Marco A. Rodriguez, M.D.        have not been     see Richard’s
                                           seen nor have     disclosures of
                                           they been         02/07/20
                                           connected to
                                           Richard's
                                           claim. I
                                           provisionally
                                           object to them,
                                           and suggest
                                           they be listed
                                           as other than
                                           fait accompli
   17   CV Robert Douglas Bostick III,     have not been     see Richard’s
        M.D.                               seen nor have     disclosures of
                                           they been         02/07/20
                                           connected to
                                           Richard's
                                           claim. I
                                           provisionally
                                           object to them,
                                           and suggest
                                           they be listed
                                           as other than
                                           fait accompli




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   18   CV Morteza Shamsnia, M.D.           have not been     see Richard’s
                                            seen nor have     disclosures of
                                            they been         02/07/20
                                            connected to
                                            Richard's
                                            claim. I
                                            provisionally
                                            object to them,
                                            and suggest
                                            they be listed
                                            as other than
                                            fait accompli
   19   Business Records LA Health          have not been     see Richard’s
        Solutions / Marco A. Rodriguez,     seen nor have     prior production
        M.D., Robert Douglas Bostick III,   they been         of medical
        M.D.                                connected to      records (1-112,
                                            Richard's         117-560), as well
                                            claim. I          as disclosures of
                                            provisionally     02/07/20
                                            object to them,
                                            and suggest
                                            they be listed
                                            as other than
                                            fait accompli
   20   Billing Records LA Health           have not been     see Richard’s
        Solutions / Marco A. Rodriguez,     seen nor have     prior production
        M.D., Robert Douglas Bostick III,   they been         of medical
        M.D.                                connected to      records (1-112,
                                            Richard's         117-560), as well
                                            claim. I          as disclosures of
                                            provisionally     02/07/20
                                            object to them,
                                            and suggest
                                            they be listed
                                            as other than
                                            fait accompli




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   21   Business Records Shamsnia         have not been     see Richard’s
        Neurology / Morteza Shamsnia,     seen nor have     prior production
        M.D.                              they been         of medical
                                          connected to      records (1-112,
                                          Richard's         117-560), as well
                                          claim. I          as disclosures of
                                          provisionally     02/07/20
                                          object to them,
                                          and suggest
                                          they be listed
                                          as other than
                                          fait accompli
   22   Billing Records Shamsnia          have not been     see Richard’s
        Neurology LLC / Morteza           seen nor have     prior production
        Shamsnia, M.D.                    they been         of medical
                                          connected to      records (1-112,
                                          Richard's         117-560), as well
                                          claim. I          as disclosures of
                                          provisionally     02/07/20
                                          object to them,
                                          and suggest
                                          they be listed
                                          as other than
                                          fait accompli
   23   Business Records HealthPRO        have not been     see Richard’s
        Physical Therapy                  seen nor have     prior production
                                          they been         of medical
                                          connected to      records (1-112,
                                          Richard's         117-560), as well
                                          claim. I          as disclosures of
                                          provisionally     02/07/20
                                          object to them,
                                          and suggest
                                          they be listed
                                          as other than
                                          fait accompli




                                     18
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   24   Billing Records HealthPRO           have not been     see Richard’s
        Physical Therapy                    seen nor have     prior production
                                            they been         of medical
                                            connected to      records (1-112,
                                            Richard's         117-560), as well
                                            claim. I          as disclosures of
                                            provisionally     02/07/20
                                            object to them,
                                            and suggest
                                            they be listed
                                            as other than
                                            fait accompli
   25   Business Records Riverbend          have not been     see Richard’s
        Imaging Center                      seen nor have     prior production
                                            they been         of medical
                                            connected to      records (1-112,
                                            Richard's         117-560), as well
                                            claim. I          as disclosures of
                                            provisionally     02/07/20
                                            object to them,
                                            and suggest
                                            they be listed
                                            as other than
                                            fait accompli
   26   Billing Records Riverbend Imaging   have not been     see Richard’s
        Center                              seen nor have     prior production
                                            they been         of medical
                                            connected to      records (1-112,
                                            Richard's         117-560), as well
                                            claim. I          as disclosures of
                                            provisionally     02/07/20
                                            object to them,
                                            and suggest
                                            they be listed
                                            as other than
                                            fait accompli




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   27   Business Records West Jefferson      have not been     see Richard’s
        MRI                                  seen nor have     prior production
                                             they been         of medical
                                             connected to      records (1-112,
                                             Richard's         117-560), as well
                                             claim. I          as disclosures of
                                             provisionally     02/07/20
                                             object to them,
                                             and suggest
                                             they be listed
                                             as other than
                                             fait accompli
   28   Billing Records West Jefferson MRI   have not been     see Richard’s
                                             seen nor have     prior production
                                             they been         of medical
                                             connected to      records (1-112,
                                             Richard's         117-560), as well
                                             claim. I          as disclosures of
                                             provisionally     02/07/20
                                             object to them,
                                             and suggest
                                             they be listed
                                             as other than
                                             fait accompli
   29   Billing Records Lloyd's Remedies     have not been     see Richard’s
                                             seen nor have     prior production
                                             they been         of medical
                                             connected to      records (1-112,
                                             Richard's         117-560), as well
                                             claim. I          as disclosures of
                                             provisionally     02/07/20
                                             object to them,
                                             and suggest
                                             they be listed
                                             as other than
                                             fait accompli




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11.     List of Deposition Testimony

        1.      Captain Sam McCain
        2.      Blaine Russell as the corporate representative(s) of REC Marine Logistics

                To the extent either witness is not brought to trial for examination, their
                deposition testimony will be introduced.


12.     a. List and brief description of any charts, graphs, models, schematic diagrams, and
        similar objects which, although not to be offered in evidence, respective counsel
        intend to use in opening statement or closing arguments

        The parties do not have any demonstrative exhibits to use at trial.

        b. Either a stipulation that the parties have no objection to the use of the listed
        objects for such purpose, or a statement of the objections to their use.

        If such objects are to be used by any party, they will be submitted to opposing counsel at

least three days prior to trial and, if there is then opposition to their use, the dispute will be

submitted to the Court at least one day prior to trial.


13.     Witness Lists

        A.      REC Marine, OTS, GOL:

                Will Call:

                Richard under cross-exam on all issues of the case.

                May Call:

        a)      Brian Harris, Claims Management, REC Marine Logistics, LLC, 4535 Hwy 308
                RACELAND, LA 70394, will testify about Richard's employment application, his
                pre-employment records, and records he provided to the pre-employment
                examiner during pre-employment ; together with Richards lack of co-operation
                with REC when he reported he had an accident, and wanted treatment for what
                appeared as pre-existing injuries not disclosed to the pre-employment examinar,
                or to REC;



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 b)    Blaine Russel, Manager of REC Marine Management, LLC, P.O. Box 309,
       Raceland, LA 70394, will testify about all matters concerning contracts and
       employment by REC, and will testify that its operation of the Dustin Danos was
       for monthly invoiced time and hours, and that it was not a charterer of the vessel
       which was operated, managed and controlled at the time of Richard's claim by W
       & T Offshore, who was never added as an identified interested party to this
       litigation

 c)    Casey Curole, Raceland, La. GOL, LLC. Port Captain, contracted to serve as Port
       Captain for various vessel including the Dustin Danos at the time of the claimed
       accident to Richard. He will testify that the equipment and gear on the vessel was
       maintained in good shape and was in sound condition. He will confirm that the
       jump decks on the stern deck were in good condition in November 2018, and did
       not need repair, adjustment or replacement. He will discuss deployment of the
       vessel by W&T Offshore during that service.

 d)    Sam McCain, Morgan City, La. employer of REC Marine Logistics, LLC, second
       Captain of M/V Dustin Dano will testify about his service for REC, and his
       eye-witness of the event claimed by Richard.

 e)    Capt Oliver Prince, 20636 Hwy 1, Golden Meadow, La. 70357, employee of REC
       Marine Logistics, LLC, will testify of his service on the Dustin Danos, about the
       vessel, and about his dealings with Richard before, at, and after his alleged
       accident which appeared to be carefully planned and staged by Richard. He will
       testify to his personal observations and witness to events concerning Richard on
       the date of the claimed accident;

 f)    Dr Bret Casey, Gulf Coast Orthopaedics, 1001 School Street, Houma, La to testify
       as an Orthopaedic Expert concerning medical claims of, medical history of, and
       care to Richard involving medical condition/disability of Richard from 2007
       through present;

 g)    Karlie Rodgers or other Representative of Occupational Medical Services, 144
       Valhi Lagoon Crossing, Houma, LA 70360 concerning Pre-employment Medical
       Records and Review/Exams/results on various dates from 2007 through date of
       trial;

 h)    Representative of any pre-employment medical service performing
       pre-employment assessment of Richard for the REC Marine application for
       employment, or prior;

 i)    Representative of Aries Marine, Youngsville, La., employment records of one of
       Richard's prior employers already provided in discovery;


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 j)    Representative of OPC Marine, Houma, La. identifying records of this prior
       employer, which have already been produced/provided to all parties;

 k)    Representative of Turner Industries, Baton Rouge, La. a prior employer of
       plaintiff, Richard, whose records have been provided to all parties in discovery;

 l)    Representative and records of additional employers found by testimony from past
       employers at trial

 m)    Occupational Medical Services, 144 Valhi Lagoon Crossing Houma, LA 70360
       Pre-employment Medical Review/Exams; Pre and Post accident exams,
       previously provided to all parties;

 n)    Drew Aucoin, 4782 Arthur Dr. New Orleans, LA 70127 with facts, vessel
       operation, procedure, equipment location, operability, accident reporting,
       communications and observations of Richard;

 o)    Brittany Bourgeois, Health Pro Physical Therapy, 501 Barrow Str., Houma, La.
       70730 to testify, and list as a non expert, the physical therapy services she
       provided, why, and the physical findings or instructions on which they were
       based.

 p)    Any witness listed, called or sought to be called by any other party.


 B.    Richard

       Will Call

 1.    DeQuincy Richard
       c/o Spagnoletti Law Firm

              Regarding the facts and circumstances surrounding the incident, injuries
              and damages, maintenance and cure




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 2.    Blaine Russell or other corporate representative(s) of
       REC Marine Logistics
       Gulf Offshore Logistics
       Offshore Transport Services
       c/o Salley & Associates

              Regarding the facts and circumstances surrounding the incident,
              operations, procedures, safety, facts and liability, maintenance of the
              vessel and her appurtenances, maintenance and cure

 3.    Captain Sam McCain
       c/o Salley & Associates

              Regarding the facts and circumstances surrounding the incident,
              operations, procedures, safety, facts and liability, maintenance of the
              vessel and her appurtenances

 4.    Robert E. Borison
       Total Safety Services, Inc.
       215 E. Second St. Unit 1
       Pass Christian, MS 39571
       504.415.0945

              Mr. Borison is a liability expert who performed an accident investigation
              analysis of the incident giving rise to the Richard’s injury, and will offer
              his opinion on the liability of the vessel owners and operators in
              connection with same.

 5.    G. Randolph Rice, Ph.D.
       7048 Moniteau Court
       Baton Rouge, LA 70809
       225.927.4546

              Dr. Rice is an expert economist who will testify regarding Richard’s
              economic losses, including, but not limited to, past wage loss, future loss of
              earning capacity, loss of benefits and household services.




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 6.    Aaron M. Wolfson, Ph.D.
       Stokes & Associates
       3501 N. Causeway Boulevard, Suite 900
       Metairie, LA 70002
       504.608.6943

              Dr. Wolfson is an expert vocational rehabilitation counselor and life care
              planner who will testify regarding his vocational assessment as to the
              employability and expected earnings range of Richard, and his evaluation
              of Richard as a result of the injuries he received in the incident made the
              basis of this suit and his projected medical cost analysis for Richard’s
              future medical needs and costs.

 7.    Marco A. Rodriguez, M.D.
 8.    Robert Douglas Bostick III, M.D.
       LA Health Solutions
       3001 Division St., Suite 100
       Metairie, LA 70002
       504.620.5520

 9.    Morteza Shamsnia, M.D.
       Shamsnia Neurology
       2909 Kingman Street
       Metairie, LA 70006
       504.717.2233

              The above are Richard’s treating physicians, who will be called to testify
              as to the histories taken; the results of examinations of Richard; the results
              of diagnostic testing conducted in order to diagnose the medical conditions
              requiring treatment; the diagnoses of Richard’s injuries; the cause of the
              injuries; an explanation of the treatment provided, including any surgical
              and/or invasive procedures; Richard’s prognosis, including any anticipated
              permanent physical limitations he might suffer; the necessity for the
              medical treatment provided; the medical treatment required in the future,
              including the estimated cost such treatment; and the reasonableness of the
              medical expenses incurred.

       May Call




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       10.     Chris Holcombe
       11.     David Gilbert
               c/o Salley & Associates

                       Crewmembers on the vessel on the date of the incident, regarding the facts
                       and circumstances surrounding the incident, operations, procedures, safety,
                       facts and liability, maintenance of the vessel and her appurtenances


       12.     Custodian of Records (business and costs) for:
               LA Health Solutions / Marco A. Rodriguez, M.D., Robert Douglas Bostick III,
               M.D.; Shamsnia Neurology / Morteza Shamsnia, M.D.; HealthPRO Physical
               Therapy; Riverbend Imaging Center; West Jefferson MRI; Lloyd's Remedies

                       The above custodians may testify regarding the authenticity of the records
                       kept under their custody, and that the records meet the business records
                       exception to the hearsay rule.

       Richard’s Witness List was filed in accordance with prior Court Orders. REC/OTS/GOL

did not file a witness list in accordance with prior Court Orders; therefore Richard objects to their

witnesses listed herein.

       Counsel for Richard certifies that expert reports have been furnished in accordance with

the Federal Rules of Civil Procedure and prior Court Orders, and that the liability report will be

furnished in accordance with the Court’s Order. REC/OTS/GOL did not furnish expert reports

or designate any expert witness; therefore Richard objects to any expert witness or evidence that

requires expert testimony.

       Counsel for Defendants does not control, and declines to produce or be responsible for

any witnesses at trial. Any witnesses must be arranged for by agreement with the witness, or

subpoenaed.




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14.    Jury / Non Jury Trial

       This matter is presently set for trial by jury on all aspects of the case.

       Proposed jury instructions, special jury interrogatories, trial memoranda and any special

questions that the Court is asked to put to prospective jurors on voir dire shall be delivered to the

Court and opposing counsel not later than five working days prior to the trial date, unless specific

leave to the contrary is granted by the Court.



15.    Damages

       The issue of liability will not be tried separately from that of quantum.


16.    Disposition

       The parties participated in a settlement conference before Magistrate Dana M. Douglas.

Richard knows of no other matters that might expedite a disposition of this case, unless the Court

orders the insurance carriers and parties to attend a settlement conference.



17.    Trial

       Trial shall commence on March 9, 2020, at 8:30 a.m., and is expected to last three days.



18.    Formulation of Pre-Trial Order

       This Pre-Trial Order has been formulated after conference at which counsel for the

respective parties have appeared via email and telephone. Reasonable opportunity has been

afforded counsel for corrections, or additions, prior to signing. Hereafter, this order will control



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the course of trial and may not be amended except by consent of the parties and the Court, or by

order of the Court to prevent manifest injustice.



19.    Settlement

       Possibility of settlement of this case was considered.



20.    Signature of Counsel



       /s/ Fred E. Salley
       Fred E. Salley
       Counsel for REC Marine Logistics, LLC,
       Gulf Offshore Logistics LLC, and
       Offshore Transport Services, LLC



       /s/ Eric J. Rhine
       Eric J. Rhine
       Counsel for DeQuincy Richard



       New Orleans, Louisiana on this ____ day of February, 2020.




                                      ______________________________________________
                                                  LANCE M. AFRICK
                                            UNITED STATES DISTRICT JUDGE




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